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UN|TED STATES DlSTRlCT COURT Fii.__‘: ,,'1' _
WESTERN DlSTRlCT OF TENNESSEE

MEMFHls DivlsloN 05 JUH 211 1’1‘-1 ‘:j_
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1: w;~_'1-.,;:;“;.1,§. 1: ,
_v- n 2:04CR20262_01_M| V' .D. Ut" Tl~l, .¢1._‘1\¢11'¢‘{13

HERMAN HUGHES
Mark Saripkin, Retained
Defense Attorney
140 North Third Street
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on March 10, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & section N_M_e; Offense Number(sl
gem
18 U.S.C. § 922(g) Posses§ion of a Firearm by a 12/07/2003 1

Convicted Fe|on

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |V|andatory
Victims Restitution Act of 1996.

IT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of |mposition of Sentence:
Defendant’s Date of Birth: 08/01/1976 June 9, 2005
Deft’s U.S. Marshal No.: 19758-076

Defendant's Mai|ing Address:

2465 Browning Circle
|V|emphis, TN 38114

swint

JON PH|PPS MCCALLA
U |TE STATES DlSTRlCT JUDGE

Junem&M. 2005
Thll doci.ment entered on the docket sheet ln compli§nce
with Rdle 55 andior 32(bl FFlCrP on

 

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Case No: 2:04CR20262-O1-M| Defendant Name: Herman HUGHES F’age 2 of 4
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 37 Months (or 3 Vears and 1 Month).

The Court recommends to the Bureau of Prisons: the defendant be allowed to
participate in classes in order to obtain his Genera| Equiva|ency Dip|oma (G.E.D.)

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States |Vlarsha|.

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES IV|ARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 2:04CR20262~01-Ml Defendant Name: Herman HUGHES Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDITIONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial districtwithout the permission of the court or probation ofticer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptabie reasons;

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation ocher within 72 hours of being arrested or questioned by a

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Case No: 2:04CR20262-01-Ml Defendant Name: Herman HUGHES Page 4 of 4
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADDITIONAL COND|T|ONS OF SUPERVlSED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shail submit to drug and alcohol testing and treatment programs as directed
by the Probation thce.

2. The defendant shall seek and maintain full-time employment

3. The defendant sha|i cooperate with DNA collection as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Assessment Total Fine Total Restitution
$100.00

The Specia| Assessment shall be due immediately.

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

     

UNITED sTATE DRISTIC COUR - W'"ERNT DSRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CR-20262 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Mark Saripkin

LAW OFFICE OF MARK SARIPKIN
140 N. Third St.

Memphis7 TN 38103

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael Robert McCusker

BLACK MCLAREN JONES & RYLAND
530 Oak Court Dr.

Ste. 3 10

Memphis7 TN 38117

Honorable Jon McCalla
US DlSTRlCT COURT

